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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                              §
    In re:                                                    §     Chapter 11
                                                              §
    EP ENERGY CORPORATION, et al.,                            §     Case No. 19-35654 (MI)
                                                              §
                                       Debtors. 1             §     (Jointly Administered)
                                                              §


                     TESORO REFINING & MARKETING
 COMPANY LLC’S LIMITED OBJECTION TO MOTION OF DEBTORS FOR FINAL
  ORDER (I) AUTHORIZING USE OF CASH COLLATERAL; (II) AUTHORIZING
  DEBTORS TO OBTAIN SENIOR SECURED, SUPERPRIORITY, POSTPETITION
      FINANCING; (III) GRANTING LIENS AND SUPER-PRIORITY CLAIMS;
    (IV) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED
PARTIES; (V) AUTHORIZING DEBTORS TO ENTER INTO AND PERFORM UNDER
   EXIT FINANCING AGREEMENTS; AND (VI) GRANTING RELATED RELIEF

                   Tesoro Refining & Marketing Company LLC (“Tesoro”) respectfully submits this

limited objection (this “Objection”) to the above-captioned debtors and debtors in possession’s

(collectively, the “Debtors”) Motion of Debtors for Final Order (I) Authorizing Use of Cash

Collateral; (II) Authorizing Debtors to Obtain Senior Secured, Super-Priority, Post-petition

Financing; (III) Granting Liens and Super-Priority Claims; (IV) Granting Adequate Protection to

Prepetition Secured Parties; (V) Authorizing Debtors to Enter Into and Perform Under Exit

Financing Agreements; and (VI) Granting Related Relief [Docket No. 182] (the “DIP Motion”),

and respectfully states that:




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are: EP Energy Corporation (2728), EPE Acquisition, LLC (5855), EP Energy LLC (1021),
     Everest Acquisition Finance Inc. (0996), EP Energy Global LLC (7534), EP Energy Management, L.L.C. (5013),
     EP Energy Resale Company, L.L.C. (9561), and EP Energy E&P Company, L.P. (7092). The Debtors’ primary
     mailing address is 1001 Louisiana Street, Houston, TX 77002.
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                                      PRELIMINARY STATEMENT2

          1.       In the DIP Motion and the proposed final financing order (the “DIP Order”), the

Debtors ask the Court to grant post-petition DIP and adequate protection liens that—perhaps

unintentionally—impermissibly purport to prime the Tesoro Liens (defined below). Tesoro does

not consent to the priming of its liens. Nor have the Debtors carried their burden of establishing

that the Tesoro Liens are adequately protected, as required for priming under Section 364(d)(1).

Other than the Prepetition Secured Parties, the DIP Order proposes no adequate protection to

Tesoro or any other secured creditor. Similarly, the proposed adequate protections liens should

also not be priming because section 363 does not authorize the granting of priming liens.

          2.       Tesoro respectfully requests that the Court condition approval of the DIP Motion

on the inclusion of the Proposed Revisions (defined below) to the language in paragraph 37 of the

DIP Order to preserve and carve out the Tesoro Liens from the priming liens proposed in the DIP

Order. Further, the Proposed Revisions would conform the carve-out in paragraph 37 to language

that was negotiated and included in the Interim Cash Collateral Order as part of the First Day

Hearing. Given that the Proposed Revisions were agreed once already in this case, Tesoro is

hopeful those revisions should not be controversial now.3




2
    Capitalized terms not otherwise defined herein shall be ascribed the same meaning provided to them in the DIP
    Motion or DIP Order, where applicable.
3
    Tesoro provided the Proposed Revisions to the Debtors on November 4, 2019. The Debtors, through their advisors,
    have been working to address these issues with their RBL lenders, but as of the objection deadline, have not reached
    resolution. Tesoro is filing this limited objection to meet the deadline and preserve its rights and appreciates the
    Debtors and their Lenders ongoing efforts to resolve this limited objection amicably before the hearing.


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                                     RELEVANT BACKGROUND

     A. The Chapter 11 Cases

         3.      On October 3, 2019 (the “Petition Date”) each of the Debtors commenced with this

Court a voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”).

         4.      The Debtors currently have secured funded debt obligations in the aggregate

amount of approximately $4.221 billion. See DIP Motion, ¶ 17. The Debtors suggest that

substantially all of their assets are encumbered. See id. at ¶¶ 50-52

     B. The Tesoro Liens

         5.      On May 11, 2017, Tesoro and Debtor EP Energy E&P Company, L.P. (“EP

Energy”) entered into a series of interrelated agreements for the joint development and operation

of wells in the Uinta Basin in Duchesne County and Uintah County, Utah and the marketing of oil

production from those and other wells in Utah. Those agreements include: (i) a Participation and

Development Agreement, dated May 11, 2017 (“PDA”); (ii) a Joint Operating Agreement, dated

May 11, 2017 (the “JOA”); and (iii) a Crude Oil Sales Agreement, dated May 11, 2017.

         6.      Tesoro holds a duly-recorded lien and security interest (the “Tesoro Liens”) in and

against EP Energy’s interests in the wells, oil and gas leases, production, other assets and proceeds

thereof more fully described4 in the following recorded documents:

         a.       the Recording Supplement to Operating Agreement and Financing Statement (the
                  “Duchesne County Perfection Document”), which was signed on May 11, 2017
                  and recorded in the land records of Duchesne County, Utah, on May 24, 2017,
                  entry number 505310, which is attached hereto as Exhibit 1 and incorporated
                  herein by reference; and



4
    Tesoro’s security interests are described in paragraph 3 of the Duchesne Perfection Document and the Unitah
    Perfection Document.



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        b.         the Recording Supplement to Operating Agreement and Financing Statement (the
                  “Unitah County Perfection Document”), which was signed on May 11, 2017 and
                  recorded in the land records of Uintah County, Utah, on May 24, 2017, entry
                  number 2017003752, a true and correct copy of which is attached hereto as Exhibit
                  2 and incorporated herein by reference.

        7.       The Tesoro Liens secures the payment and performance of EP Energy’s obligations

under the JOA and the PDA. The JOA defines the term “Secured Obligations” as follows:

                 The term “Secured Obligations” shall mean, with respect to each
                 party, (i) all of such party’s obligations under this Agreement [JOA],
                 including but not limited to payment of costs, expenses, interest and
                 fees hereunder, the proper disbursement of all monies paid
                 hereunder, the assignment or relinquishment of interest in Oil and
                 Gas Leases as required hereunder, and the proper performance of
                 operations hereunder, (ii) such party’s share of the Well Costs,
                 including the Carried Costs (in each case, as defined in the
                 Participation Agreement), pursuant to the terms and subject to the
                 conditions of the Participation Agreement, and (iii) TRMC (as
                 defined in the Participation Agreement) or its affiliate’s payment
                 obligations in its capacity as buyer pursuant to the Crude Oil Sales
                 Agreement entered into by the parties, or their respective affiliates,
                 simultaneously with the Participation Agreement.

JOA, Article XVI.A.9.

        8.       The JOA and PDA are cross defaulted with each other5 and the PDA is incorporated

into the JOA by reference:




5
    The JOA provides:

                 Cross Default:

                 In addition to the terms and provisions set forth at Article VII.D., as between EP
                 Energy E&P Company, L.P. and Tesoro Refining & Marketing Company LLC
                 (or its successors and assigns), if either such party becomes a Defaulting Party (as
                 defined in the Participation Agreement) under the Participation Agreement, such
                 Defaulting Party shall be automatically deemed to be in default under this
                 Agreement, and in such an event, the non-defaulting party shall be entitled to
                 enforce any of its rights as a non-defaulting party under this Agreement, including
                 its rights to the remedies set forth in Article VII.D hereof.

    JOA, Article XVI.T.


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                  Agreement Subject to Participation Agreement:

                  This Agreement [JOA] was entered into in connection with the
                  execution and delivery of the Participation Agreement. The rights,
                  obligations and remedies of the parties under this Agreement are
                  expressly subject to and burdened by the terms and conditions of the
                  Participation Agreement, which is hereby incorporated by reference
                  into, and made a part of, this Agreement, and the rights, obligations
                  and remedies of the EP Energy E&P Company, L.P. and Tesoro
                  Refining & Marketing Company LLC under the Participation
                  Agreement also constitutes rights, obligations and remedies of EP
                  Energy E&P Company, L.P. and Tesoro Refining & Marketing
                  Company LLC under this Agreement. To the extent there is a
                  conflict between the terms of this Agreement and the express terms
                  of the Participation Agreement, the terms of the Participation
                  Agreement shall control.

JOA, Article, XVI.V.

     C. The DIP Motion

         9.       Pursuant to the DIP Motion, the Debtors seek entry of the DIP Order which would

authorize the Debtors to, among other things, obtain a post-petition revolving credit facility in the

aggregate principle amount of up to $314,710,456 (the “DIP Facility”) on a final basis. See DIP

Motion, ¶ 9 (b)(b)(i).

         10.      In the DIP Motion, the Debtors seek authorization to grant the DIP Lenders priming

liens pursuant to section 364(d) of the Bankruptcy Code. See Id., ¶¶ 48-55. The Debtors argue that

the requirements of section 364(d)(1) are satisfied because (i) there is no alternative financing

available to the Debtors without priming, see id., ¶¶ 49-51; and (ii) (a) the Prepetition Secured

Parties6 have consented (or have deemed to consent) to the priming liens by virtue of being party

to the Intercreditor Agreements, see id, ¶53, and (b) the Prepetition Secured Parties are receiving

adequate protection under the DIP Order, see id, ¶¶ 54-55.


6
     The DIP Order defines the term “Prepetition Secured Parties” as including the Junior Lien Trustees, the RBL
    Agent, the RBL Secured Parties, the Intermediate Lien Noteholders, and the 1.5 Lien Noteholders. See DIP Order,
    ¶ ¶ III (a)-(c).



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         11.      The DIP Motion does not expressly seek authority to prime the liens of, or to

provide adequate protection to, any secured creditor other than the Prepetition Secured Parties.

     D. The Priming Liens

         12.      The DIP Order proposes to grant different post-petition DIP and adequate

protection liens based on the type of collateral at issue. As to Pre-Petition Collateral7, paragraph

9(a)(i)(1) of the DIP Order provides that the RBL Agent and RBL Secured Parties shall be granted

as adequate protection, among other things:

                  Subject to the Carve-Out,8 pursuant to sections 361(2) and 363(c)(2)
                  of the Bankruptcy Code, a valid, binding continuing, enforceable,
                  fully perfected first priority, senior priming lien on and security
                  interest in, all Prepetition Collateral. The RBL Adequate Protection
                  Liens on the Prepetition Collateral shall be senior in all respects to
                  the security interest in, and liens on, the Prepetition Collateral of
                  each of the Prepetition Secured Parties (including the applicable
                  Adequate Protection Liens Granted to Such Prepetition Secured
                  Parties).

DIP Order, ¶ 9(a)(i)(1) (emphasis added). The first sentence proposes to grant a priming lien and

security interest in the Prepetition Collateral, subject only to the Carve-Out. Given the breadth of

the definition of Prepetition Collateral, it is reasonable to conclude that the term includes the

collateral in Utah encumbered by the Tesoro Liens. The second sentence provides that the lien

granted in the first sentence is senior to the other Prepetition Secured Parties. But nothing in the

second sentence limits the purported priming effect of the lien grant in the first sentence as to

Prepetition Collateral.




7
    The DIP Order defines the term “Prepetition Collateral” as including all of the Debtors’ “material real or personal
    property constituting Collateral.” See DIP Order, ¶ 4(c).
8
    The DIP Order defines the term “Carve-Out” as including only Professional Fees and Expenses incurred before
    and after the Carve-Out Trigger Date. See DIP Order, ¶ 13.



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         13.      Further, paragraph 11(a) of the DIP Order provides that the DIP Lenders shall be

granted:

                  Pursuant to section 364(d)(1) of the Bankruptcy Code, a valid,
                  binding, continuing, enforceable, fully-perfected first priority,
                  senior priming lien on, and security interest in, all Prepetition
                  Collateral. The DIP Liens on the Prepetition Collateral shall be
                  senior in all respects to the security interests in, and liens on, the
                  Prepetition Collateral of each of the Prepetition Secured Parties
                  (including the applicable Adequate Protection Liens granted to such
                  Prepetition secured Parties).

Id. ¶ 11 (a) (emphasis added). Again, the lien grant in the first sentence is clearly priming as to

any lien or security interest in the Prepetition Collateral, and the second sentence does attempt to

limit the grant or priority of the lien in the first sentence.

         14.      The DIP Order also grants additional post-petition DIP and adequate protection

liens in and against all pre- and post-petition property of the Debtors— regardless of whether or

not included in the definition of Prepetition Collateral—that, although labeled junior to existing

liens, are nevertheless priming except as to any pre-existing liens that fall within the Debtors’

definition of “Non-Primed Liens.”9 See id., ¶¶ 9(a)(i)(3), 9(b)(i), (c)(i), 11 (c). The DIP Order

defines the term “Non-Primed Liens” as including “valid, perfected, and unavoidable senior liens

in existence immediately prior to the Petition Date ….” See DIP Order, ¶ 9(a)(i)(3) (emphasis

added). The DIP Order does not define or describe to what must a pre-existing lien be senior to

as a condition to being included in the definition of Non-Primed Liens.




9
    For example, the DIP Order provides that the Intermediate Lien Adequate Protection Liens are “subject and
    subordinate only to (I) the RBL Adequate Protection Liens, (II) the DIP Liens, (III) the Carve-Out , and (IV) the
    Non-Primed Liens. . . .” See DIP Order, ¶ 9(b)(i). Similarly, the DIP Order provides that the 1.5 Lien Adequate
    Protection Liens are subject and subordinate only to (I) the RBL Adequate Protection Liens, (II) the DIP Liens,
    (III) the Carve-Out , and (IV) the Non-Primed Liens. . . . .” See DIP Order, ¶ 9(c)(i).


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   E. The Adequate Protection Provisions

         15.   The DIP Order provides that the Prepetition Secured Lenders are each receiving

adequate protection (the “Adequate Protection Provisions”) in the form of adequate protection

liens, super-priority claims and for some lenders, cash payments. See DIP Motion, p. 23; DIP

Order, ¶ 9. No other secured creditor, including Tesoro, is receiving anything.

                                     LIMITED OBJECTION

         16.   It is, of course, axiomatic that a debtor cannot prime a secured creditor’s existing

liens without adequate protection. See 11 U.S.C. § 364(d)(1). “The concept of adequate protection

is not defined in the [Bankruptcy] Code except by the implications of the examples of adequate

protection listed in § 361.” In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986)

(internal quotation marks omitted). Section 361 of the Bankruptcy Code contains a non-exhaustive

list of acceptable forms of adequate protection, including a cash payment or periodic cash

payments, additional liens, replacement liens, and the granting of other relief, other than an

administrative priority claim under section 503(b)(1), as will result in the realization by such

secured creditor of the “indubitable equivalent of such entity’s interest in such property.” 11 U.S.C.

§ 361.

         17.   The Debtors carry the burden of proof to establish that Tesoro is adequately

protected and must detail how Tesoro is adequately protected. See 11 U.S.C. § 363(p)(1)

(providing that debtor-in-possession has the burden of proof on issue of adequate protection); 11

U.S.C. § 364(d)(2) (same); see also In re Cafeteria Operators, L.P., 299 B.R. 400, 406 (Bankr.

N.D. Tex. 2003).

         18.   Here, the Debtors purpose to grant priming liens on substantially all of the Debtors’

assets, which will prime all of the Debtors’ prepetition secured lenders, including Tesoro. Tesoro




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does not consent to the priming of its liens. And the Adequate Protection Provisions do not apply

to Tesoro.

       19.     Further, the Debtors’ definition of Non-Primed Liens provides little or no

protection. First, that definition is irrelevant to the post-petition priming liens on Prepetition

Collateral. Second, the definition requires liens to be senior in priority to an unspecified lien, or

perhaps to all other liens, for the definition to apply. Yet a secured creditor is not required to

establish a senior priority of its lien to avoid being primed by a DIP lien (without consent and

without any showing of adequate protection as required under Section 364(d)(1)). Nor is a senior

priority a condition to avoid priming by an adequate protection lien (for which priming is not

authorized under the Bankruptcy Code). To be sure, the DIP Motion is premised on a consensual

priming of the Prepetition Secured Parties. Those Prepetition Secured Parties are also receiving

adequate protection under the DIP Order. Many of the Prepetition Secured Parties hold junior

liens. Yet those junior liens are nevertheless receiving adequate protection for their consensual

priming of their junior liens. The same cannot be said for Tesoro or any other secured creditor.

       20.     For these reasons, the Debtors have not met their burden, pursuant to sections

364(d)(1) and (2), of establishing that Tesoro’s Liens are adequately protected; priming should

thus be denied. Tesoro respectfully requests, therefore, that the Court condition approval of the

DIP Motion on the inclusion of the following changes (the “Proposed Revisions”) to the language

in paragraph 37 of the DIP Order to preserve Tesoro’s lien and security interest from being subject

to the priming liens contained in the DIP Order:

               Notwithstanding anything to the contrary contained herein,
               Oother than the consensual and/or contractual priming described in
               this Order, no DIP Lien, RBL Adequate Protection Lien,
               Intermediate Lien Adequate Protection Lien and/or 1.5 Lien
               Adequate Protection Lien shall, on a non-consensual basis, prime
               any valid and unavoidable senior lien, security interest and/or



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               encumbrance existing as of the Petition Date (including any
               properly perfected senior lien under section 546 of the Bankruptcy
               Code). All rights of any party claiming a royalty, separate property
               interest, other interest not comprising property of the estate, or
               senior lien, security interest and/or encumbrance are hereby
               preserved.

                                RESERVATION OF RIGHTS

       21.     Tesoro reserves all rights to supplement or add to the legal or factual arguments

raised in this Objection and to object to the DIP Motion on any bases whatsoever at a future date.



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                                         CONCLUSION

               WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court condition approval of the DIP Motion on the inclusions of the Proposed Revisions

in the DIP Order, and grant such other and further relieve as is just and warranted.


 Dallas, Texas
 Dated: November 15, 2019

                                                        Respectfully submitted,

                                                        BAKER BOTTS L.L.P.

                                                        /s/ James R. Prince
                                                        James R. Prince, State Bar No. 00784791
                                                        BAKER BOTTS L.L.P.
                                                        2001 Ross Avenue, Suite 900
                                                        Dallas, Texas 75201-2980
                                                        Telephone: (214) 953-6500
                                                        Facsimile: (214) 953-6503
                                                        Email: jim.prince@bakerbotts.com

                                                        Counsel to Tesoro Refining & Marketing
                                                        Company LLC




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                               CERTIFICATE OF SERVICE


        I hereby certify that on November 15, 2019, true and correct copies of the Objection were
served by electronic means via the Court’s ECF system on all parties authorized to receive
electronic notice in these chapter 11 cases.

                                                          /s/ James R. Prince
                                                          James R. Prince




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                            EXHIBT 1

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                            EXHIBIT 2

                     Unitah Perfection Document
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